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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

CORNELL DESMOND
BRUMFIELD,
        Movant,                                CRIMINAL ACTION NO.
                                               1:10-CR-0053-1-CAP

                                                CIVIL ACTION NO.
      v.                                        1:15-CV-1969-CAP

UNITED STATES OF AMERICA,

            Respondent.


                                   ORDER

      This action is before the court on the magistrate judge’s report and

recommendation (“R&R”) [Doc. No. 275]. The movant has filed objections

thereto [Doc. No. 283].

I. Standard of Review

      In reviewing a magistrate judge's R&R, the district court “shall make a

de novo determination of those portions of the report or specified proposed

findings or recommendations to which objection is made.” 28 U.S.C.

§ 636(b)(1). “Parties filing objections to a magistrate's report and

recommendation must specifically identify those findings objected to.

Frivolous, conclusive, or general objections need not be considered by the
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district court.” United States v. Schultz, 565 F.3d 1353, 1361 (11th Cir. 2009)

(quoting Marsden v. Moore, 847 F.2d 1536, 1548 (11th Cir. 1988)) (internal

quotation marks omitted). The district judge must “give fresh consideration

to those issues to which specific objection has been made by a party.” Jeffrey

S. v. State Bd. of Educ. of Ga., 896 F.2d 507, 512 (11th Cir. 1990) (citation

and internal quotation marks omitted). Absent objection, the district judge

“may accept, reject, or modify, in whole or in part, the findings and

recommendations made by the magistrate judge,” 28 U.S.C. § 636(b)(1), and

“need only satisfy itself that there is no clear error on the face of the record in

order to accept the recommendation,” Fed. R. Civ. P. 72, advisory committee

note, 1983 Addition, Subdivision (b).

II. Discussion

      A. Background

      The movant and his co-defendant Ronn Darnell Sterling were indicted

for aiding and abetting one another pursuant to 18 U.S.C. § 2 in committing

the substantive crimes of (1) armed bank robbery in violation of 18 U.S.C.

§ 2113(a) and (d); (2) possession of a firearm in relation to a crime of violence

in violation of 18 U.S.C. § 924(c)(1)(A) and (c)(1)(C)(i); and (3) possession of a

firearm by a convicted felon in violation of 18 U.S.C. §§ 922(g)(1) & 924(a)(2).

Superseding Indictment [Doc. No. 120].

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      During pretrial proceedings, the movant sought to suppress evidence

recovered from a gray Dodge Stratus owned by the movant and his wife. The

motion was denied.

      The movant and his co-defendant were tried before a jury beginning on

January 17, 2012. On January 20, 2012, the jury convicted both defendants

on all counts [Doc. No. 147]. This court sentenced the movant to 363 months’

imprisonment [Doc. No. 165].

      After the movant filed a timely notice of appeal, the Eleventh Circuit

affirmed the movant’s and his co-defendant’s convictions and sentences by

order dated November 21, 2013. United States v. Sterling, 738 F.3d 228

(11th Cir. 2013). The Eleventh Circuit considered and rejected the movant’s

arguments that (1) the trial court improperly admitted evidence of the

movant and his co-defendant’s prior convictions; and (2) there was a lack of

sufficient evidence to support all charges against the movant. Id. at 238-39.

      B. Section 2255 Motion

      The movant now collaterally challenges his convictions and sentences

on the following grounds: (1) trial counsel was ineffective regarding the

Fourth Amendment challenge to the investigatory stop and search; (2) trial

counsel was ineffective in failing to object and seek suppression of




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unsubstantiated criminal evidence; and (3) the movant is actually innocent of

all aiding and abetting counts.

            1. Ineffective Assistance of Counsel Claims

      Under the Sixth Amendment, a defendant has the right to “reasonably

effective” legal assistance. Strickland v. Washington, 466 U.S. 668, 687

(1984). To show constitutionally ineffective assistance of counsel, a petitioner

must establish that (1) counsel's representation was deficient and (2)

counsel's deficient representation prejudiced him. Id. at 690-92; Bottoson v.

Moore, 234 F.3d 526, 532 (11th Cir. 2000) (stating that the court may resolve

an ineffective assistance claim based on either prong).

      Under the first prong, a movant must show that “in light of all the

circumstances, the identified acts or omissions were outside the wide range of

professionally competent assistance.” Strickland, 466 U.S. at 690.

“[C]ounsel's conduct is presumed reasonable, [and] a petitioner must

establish that no competent counsel would have taken the action that his

counsel did take.” Chandler v. United States, 218 F.3d 1305, 1315 (11th Cir.

2000) (en banc). To prove ineffectiveness, a movant must show that his

attorney's representation “fell outside the wide range of professionally

competent assistance.” Id. at 1314 (internal quotation marks omitted).

When evaluating an attorney's performance, the court must be highly

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deferential and “avoid second-guessing counsel's performance.” Id.

Moreover, when reviewing counsel's performance, the court “must evaluate

the reasonableness of counsel's performance from counsel's perspective at the

time,” not with the distortion of hindsight. Id. at 1316.

      Under the second Strickland prong, a movant “must show that there is

a reasonable probability that, but for counsel's unprofessional errors, the

result of the proceeding would have been different. A reasonable probability

is a probability sufficient to undermine confidence in the outcome.”

Strickland, 466 U.S. at 694.

                  a. Investigatory Stop

      The movant argues that his attorney’s arguments at the suppression

hearing and objections to the magistrate judge’s R&R on the suppression

issue were flawed because defense counsel failed to identify, argue, and show

that the investigatory stop of the movant was the result of a false

incriminating statement by Officer Nesbit and not the statements of

eyewitness Matthew Justice. Specifically, the movant asserted that the

investigatory stop was made because of Nesbit’s false report to dispatch that

witnesses said they saw the man running from the bank get into a Gray

Dodge Stratus—but that neither Justice nor any other witness made such a

statement to Nesbit.

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      In the R&R, the magistrate judge points out that at the suppression

hearing, Justice testified that he and other witnesses flagged down Nesbit

and told him they think they saw the fleeing robber getting into a gray

Chrysler Dodge. Justice conceded during cross examination by defense

counsel during the suppression hearing that he did not actually see the

robber get into the car, he merely inferred that the robber had done so. But,

as the R&R concludes the crucial portion of Justice’s testimony is that he told

Nesbit that he and other witnesses think the escaping robbers were in a gray

Dodge, which means that when Nesbit conveyed the statements made to him

by the witnesses to dispatch regarding the presence of the robbers in a gray

Dodge, he did so accurately. As a result, there was no basis for the movant’s

counsel to argue that the investigatory stop was based on a false statement

by Nesbit and defense counsel’s failure to do so does not fall outside the wide

range of professionally competent assistance.

      In his objections to the R&R, the movant focuses on Justice’s testimony

on cross-examination during which he concedes that he did not see the robber

get into the gray Dodge. However, the movant ignores Justice’s testimony

regarding what he told Nesbit. Trans at 12, 16 [Doc. No. 49]. Importantly,

Justice testified that the did not tell Nesbit that he didn’t actually see the

robber get into the car. Tr. at 17.

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      Because the uncontraverted evidence demonstrated that Nesbit passed

on to dispatch exactly what he was told by eyewitnesses, there was no basis

for defense counsel to challenge the stop on the grounds that Nesbit provided

false information to dispatch. Accordingly, the movant’s objection to the

R&R’s conclusion of the same is OVERERULED.

                  b. Incriminating Evidence

                         i. Statement by Layla

      In his § 2255 motion, the movant contends that his attorney rendered

ineffective assistance in failing to prevent the admission of a statement by his

3-year-old daughter. In the R&R, the magistrate judge points out that the

child’s statement was not admitted. Accordingly, there was nothing for

defense counsel to move to exclude. The movant makes no objection to this

portion of the R&R. This court agrees with the magistrate judge that there

was no ineffective assistance by defense counsel in failing to move to exclude

evidence that was never admitted.

                         ii. Fact that Layla was in the car

      In his § 2255 motion, the movant contends that his counsel rendered

ineffective assistance by failing to object or seek a curative instruction

regarding the prosecutor’s statements about the movant’s daughter being in

the car as a means of evading police suspicion. The movant contends that

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this fact was prejudicial to him and was not probative of any element of the

crimes charged.

      In the R&R, the magistrate judge recognized that the fact that the

movant had his daughter in the car during the bank robbery reflects badly on

the movant. However, the magistrate judge concluded that its disclosure did

not violate Federal Rule of Evidence 403 because it did not create unfair

prejudice, confuse the issues, mislead the jury, result in undue delay, waste

time, or amount to needless presentation of cumulative evidence. As such,

there would be no basis for defense counsel to object, and failure to do so

could not be ineffective assistance of counsel.

      In his objections to the R&R, the movant argues simply that the

evidence was “extremely prejudicial” and that there was no evidence to

suggest that the movant brought his daughter along to the bank robbery to

mislead the police and deflect suspicion. The movant points out that the

presence his daughter was mentioned by the prosecutor in opening

statements when he said “And he waited in that parking lot in his car with

his three year old daughter. The importance of that is obviously nobody’s

going to make for a bank robbery suspect on Concord Drive with his three

year old daughter.” Tr. at 36 [Doc. No. 200]. Additionally, the prosecutor

said, “if the police pull over Mr. Brumfield they’re going to notice that he’s

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six-three, 220 pounds, he’s obviously not the bank robber and he’s got his

three-year-old daughter in the back of the car.” Tr. at 37.

      The prosecutor’s statements about the child’s presence in the car was

supported by the evidence and his statements about why the movant brought

his child were reasonable inferences to be made from that evidence.

Moreover, the court instructed the jury that what lawyers say in the case is

not evidence. Tr. at 521 [Doc. No. 203]. Accordingly, there was no basis for

an objection by defense counsel to statements now challenged by the movant.

      Relevant evidence is inherently prejudicial; but it is only unfair

prejudice, substantially outweighing probative value, which permits

exclusion of relevant matter under Rule 403. United States v. Meester, 762

F.2d 867, 875 (11th Cir. 1985). Here, it is undisputed that the 3-year-old

child was in the car with the movant. And given the overwhelming evidence

of the movant’s guilt, the court finds that there was no unfair prejudice

caused by introduction of the fact that the child was in the car or the

prosecutor’s comments as to why she was brought along.

      To the extent that the movant contends that counsel should have

requested a curative instruction, his argument likewise fails. Generally,

defense lawyers prefer to avoid a curative instruction related to evidence they

believe to be unfairly prejudicial because the curative instruction merely

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serves to call the jury’s attention to the evidence. United States v.

Sobolewski, No. 5:13-CR-20-OC-10PRL, 2015 WL 1579477, at *5 (M.D. Fla.

Apr. 9, 2015), aff'd, 649 F. App'x 706 (11th Cir. 2016). Thus, the movant

cannot show that no competent counsel would have taken the action that his

counsel did take. Chandler v. United States, 218 F.3d 1305, 1315 (11th Cir.

2000).

      Because the movant failed to demonstrate error on the part of his

attorney and because he cannot show that there would have been a different

outcome had his attorney taken the action the movant now urges, his claim of

ineffective assistance of counsel related to evidence of his daughter’s presence

in the car during the bank robbery is DENIED.

                        iii. Two red-dye stained $100 bills

      In his § 2255 motion, the movant contends that his attorney rendered

ineffective assistance by failing to object to the admission of two red-dye

stained $100 bills found by investigating officers in the Kroger parking lot.

In the R&R, the magistrate judge concludes that there was no basis for

excluding this evidence and that both parties were free to argue about the

inferences that could be drawn from this evidence. As such, the magistrate

judge determined that the movant could not demonstrate deficient

performance based on a failure to seek to exclude the $100 bills.

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      In his objections, the movant argues that there was no evidence offered

by the government to establish that the movant caused the bills to be left in

the parking lot. This argument is meaningless. The bills were relevant

evidence related to the bank robbery. The jury was free to draw reasonable

inferences as to how the bills came to be in the Kroger parking lot. There

was nothing about the introduction of the two $100 bills that violated Federal

Rule of Evidence 403. Accordingly, there was no basis for an objection by

defense counsel to their admission at trial. Thus, failure to make such

objection was not outside the wide-range of competent conduct.

      The movant’s objection to the R&R on this claim is OVERRULED.

                        iv. Red stain found on the seat of the car

      In his § 2255 motion to vacate, the movant argues that his attorney

rendered ineffective assistance by failing to prevent the introduction of

evidence of a red stain found on the back seat of the car. In the R&R and the

magistrate judge concludes that there was no basis for exclusion of this

relevant evidence. Furthermore, the magistrate judge points out that

defense counsel, in cross examining the government’s witness, obtained an

acknowledgement that the red dye that caused this stain was not a material

used exclusively in bank dye-packs.




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      In his objections, the movant continues to argue that evidence of the

red stain was prejudicial to him. He then goes on to make the very points

that his defense counsel did at trial: (1) the red stain was not noticed by the

police when they searched the vehicle at the investigatory stop, (2) the red

stain was not noticed by police when the car was at the impound lot, and (3)

the government’s expert testified that the red dye on the seat was not a

material that was used exclusively in bank dye-packs. In other words, the

movant’s attorney made the precise arguments the movant now raises in

order to cast doubt on the government’s theory of the case. Thus, the movant

makes no showing of how his attorney’s conduct was somehow deficient.

Accordingly, the movant’s objection is OVERRULED, and his claim based on

admission of evidence of the red stain on the car seat is DENIED.

            2. Actual Innocence Claim

      Ground 3 of the movant’s § 2255 motion to vacate is that he is actually

innocent of the charges against him because the gun found in his vehicle was

not the gun described in the state criminal complaint against him. The

magistrate judge recommended denial of this ground for relief because to

support an actual innocence claim, the movant would have to offer new

reliable evidence that was not offered at trial; here, the movant has offered

evidence that was in his possession prior to trial.

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      In his objection to the R&R, the movant changes the basis of his ground

for relief. He argues that his attorney should have argued that he was

factually innocent because the movant was never shown to have possessed a

firearm at any time. This claim was not made in his motion to vacate, and

the movant may not amend his claim through an objection to the R&R.

      Regardless of the procedural deficiency of the movant’s claim, he cannot

demonstrate ineffective assistance of counsel on this basis because his

attorney did argue that the government could not link the movant to the gun

in the trunk or any other gun. Tr. at 48 – 50 [Doc. No. 200], Tr. at 447, 492,

493, 498 [Doc. No. 202].    Accordingly, the movant’s objection to the

recommendation of denial of his third ground for relief is OVERRULED, and

his claim of actual innocence is DENIED.

            3. Trunk Search

      Objection number two to the magistrate judge’s R&R appears to be a

new claim challenging the search of the movant’s trunk once the Dodge

Stratus was at the impound lot. This claim was not raised in the original

§ 2255 motion; the movant may not amend his motion to vacate through his

objections. Moreover, the claim is procedurally defaulted. A criminal

defendant who fails to raise an issue on direct appeal is procedurally barred

from raising the claim in a § 2255 motion, absent (1) a showing of cause for

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the default and actual prejudice or (2) a showing of actual innocence. McKay

v. United States, 657 F.3d 1190, 1196 (11th Cir. 2011). The movant did not

raise this issue on direct appeal and has made no showing of cause and

prejudice or actual innocence. Therefore, to the extent the movant is

attempting to add a ground for § 2255 relief regarding the trunk search, the

claim is DENIED.

            4. Certificate of Appealability (“COA”)

      Section 2253 sets forth the standard a movant must satisfy to obtain

appellate review of this court’s disposition of his § 2255 motion to vacate:

      (c)(1) Unless a circuit justice or judge issues a certificate of
      appealability, an appeal may not be taken to the court of appeals
      from -

      (A) the final order in a habeas corpus proceeding which the
      detention complained of arises out of process issued by a State
      court; or

      (B) the final order in a proceeding under section 2255.

      (2) A certificate of appealability may issue under paragraph (1)
      only if the applicant has made a substantial showing of the denial
      of a constitutional right.

      (3) The certificate of appealability under paragraph (1) shall
      indicate which specific issue or issues satisfy the showing
      required by paragraph (2).

28 U.S.C. § 2253(c)(1-3). This standard is met when “reasonable jurists could

debate whether (or, for that matter, agree that) the petition should have been

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resolved in a different manner or that the issues presented were adequate to

deserve encouragement to proceed further.” Slack v . McDaniel, 529 U.S.

473, 484 (2000) (internal quotations omitted). The magistrate judge found

that the movant could not meet that standard.

      The movant makes no objection to this conclusion in the R&R.

Moreover, as set forth above, the movant’s claims are wholly without merit.

Accordingly, the movant is denied a COA. The movant may request a circuit

judge to issue a COA since this court has denied the same. Fed. R. App. P. 22

(b)(1, 2). “Under the plain language of the rule, an applicant for the writ gets

two bites at the appeal certificate apple: one before the district judge, and if

that one is unsuccessful, he gets a second one before a circuit judge.” Jones v.

United States, 224 F.3d 1251, 1255 (11th Cir. 2000) (quoting Hunter v.

United States, 101 F.3d 1565, 1575 (11th Cir. 1996)).

III. Conclusion

      Based on the foregoing, the movant’s objections [Doc. No. 283] are

OVERRULED, and the magistrate judge's R&R [Doc. 275], as reviewed

herein, is ADOPTED as the order of the court.

      IT IS ORDERED that the motion to vacate [Doc. 234] is DENIED, and

that a COA is DENIED.




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      The clerk is DIRECTED to close the civil action associated with the

filing of the motion to vacate.

      SO ORDERED, this 5th day of March, 2018.



                                          /s/CHARLES A. PANNELL, JR.
                                          CHARLES A. PANNELL, JR.
                                          United States District Judge




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